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		OSCN Found Document:IN RE OKLAHOMA BAR ASSOC. ALTERNATIVE METHOD TO CONDUCT 2020 ANNUAL MEETING

					

				
  



				
					
					
						
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				IN RE OKLAHOMA BAR ASSOC. ALTERNATIVE METHOD TO CONDUCT 2020 ANNUAL MEETING2020 OK 60Case Number: SCBD-6938Decided: 06/29/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 60, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

IN RE: OKLAHOMA BAR ASSOCIATION ALTERNATIVE METHOD TO CONDUCT 2020 ANNUAL MEETING
ORDER ALLOWING ALTERNATIVE METHOD TO CONDUCT THE 
2020 OKLAHOMA BAR ASSOCIATION ANNUAL MEETING
This matter comes on before this Court upon an Application for an Order Allowing Alternative Method to Conduct the 2020 Oklahoma Bar Association Annual Meeting. This Court finds that it has jurisdiction over this matter and makes the following order.
That in the interest of the safety and health of its members, if the Oklahoma Bar Association deems it is unable to conduct the elections and other House of Delegate business pursuant to its Bylaws, the Oklahoma Bar Association is authorized to use alternative means to conduct the business of the House of Delegates including allowing delegates to vote by mail.
DONE BY THE SUPREME COURT IN CONFERENCE this 29TH day of JUNE, 2020.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR




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